      Case 5:21-cv-00133-JKP-ESC Document 13 Filed 08/27/21 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

SERITAGE SRC FINANCE, LLC,
              Plaintiff,
                                                      Civil Action No. 5:21-CV-00133-JKP
       v.

PAINTED TREE SAN ANTONIO, LLC and
PAINTED TREE MARKETPLACE, LLC
             Defendants.


                   ALTERNATIVE DISPUTE RESOLUTION REPORT

       Plaintiff Seritage SRC Finance, LLC (“Seritage”) and Defendants Painted Tree San

Antonio, LLC and Painted Tree Marketplace, LLC (collectively, “Painted Tree” and with

Seritage, the “Parties”) make the following report in accordance with the Court’s Scheduling

Order signed and entered on May 12, 2021 and the Local Court Rule CV-88. The Parties would

respectfully show the Court as follows:

1.     METHOD OF ALTERNATIVE DISPUTE RESOLUTION

       The Parties agree upon mediation.

2.     ALTERNATIVE DISPUTE RESOLUTION PROVIDER

       The Parties agree upon the following mediator:

              Donald R. Philbin, Jr.
              P.O. Box 12367
              San Antonio, Texas 78212-0367

       Due to the ongoing Covid-19 global pandemic and recognizing the recent rise in the

Delta Variant of Covid-19, the Parties agree to conduct the mediation remotely.

3.     METHOD OF COMPENSATING PROVIDER

       The Parties agree to split the mediator’s fee evenly.
       Case 5:21-cv-00133-JKP-ESC Document 13 Filed 08/27/21 Page 2 of 3




4.      DATE FOR COMPLETING ALTERNATIVE DISPUTE RESOLUTION

        The Parties believe that a mediation deadline of April 1, 2022 would be appropriate for

this case.

Dated: August 27, 2021                      Respectfully submitted,

                                            /s/ Ian R. Phillips
                                            Aaron Davidson
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                                            ATTORNEYS FOR PLAINTIFF SERITAGE SRC
                                            FINANCE LLC

                                            /s/ Clint Buck
                                            Clint Buck
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ALTERNATIVE DISPUTE RESOLUTION REPORT                                                     PAGE 2
       Case 5:21-cv-00133-JKP-ESC Document 13 Filed 08/27/21 Page 3 of 3




                                    CERTIFICATE OF SERVICE

       This is to certify that on August 27, 2021, a true and correct copy of the foregoing
Alternative Dispute Resolution Report has been served in a manner consistent with the Federal
Rules of Civil Procedure upon Defendants Painted Tree San Antonio, LLC, and Painted Tree
Marketplace, LLC, by and through their counsel of record, as follows:

                                        Clint Buck
                                        BRANSCOMB LAW
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                                        San Antonio, Texas 78249
                                        Telephone (210) 598-5400
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                                        Email: cbuck@branscomblaw.com
                                        Attorney for Defendants


                                                         /s/ Ian R. Phillips
                                                         Ian Ross Phillips




ALTERNATIVE DISPUTE RESOLUTION REPORT                                                   PAGE 3
